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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ONE PLACE CONDOMINIUM LLC,                       )
THE SOUTH LOOP SHOPS LLC,                        )
SOUTHBLOCK DEVELOPMENT LLC,                      )
C & K PARTNERSHIP, and                           )
SOUTHBLOCK MANAGEMENT, INC.,                     )    Case No. 1:11-cv-02520
                                                 )
              Plaintiffs,                        )
                                                 )
vs.                                              )
                                                 )
TRAVELERS PROPERTY CASUALTY                      )    Honorable Sheila M. Finnegan
COMPANY OF AMERICA,                              )
                                                 )
              Defendant.                         )
                                                 )



                            TRAVELERS’ FACT DISCOVERY PLAN

        Defendant Travelers Property Casualty Company of America (“Travelers”), by its

counsel, submits the following fact discovery plan pursuant to the Court’s Order of June

23, 2011.

        1.    Written Fact Discovery/Document Requests

        Travelers intends to issue interrogatories, as well as a request for production of

documents to Plaintiffs. Although Plaintiffs did produce documents during the claim

process, there are certain categories of documents Plaintiffs have not produced. These

include, but are not limited to the following:

        a. Plaintiffs’ internal communications, emails, letters, memos, reports and notes
           relating to the relevant issues in the case.

        b. Plaintiffs’ communications       with     their    public    adjusters,    Globe
           Midwest/Adjusters International, relating to the relevant issues in the case.
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       c. Plaintiffs’ communications with the general contractors, Levine Construction,
          Inc. and Wight Construction, Inc., relating to the relevant issues in the case.
          (Some of these documents have already been produced.)

       d. Plaintiffs’ communications with subcontractors and consultants relating to
          relevant issues in the case. (Some of these documents have already been
          produced.)

       e. Plaintiffs’ documentation supporting certain claim items which have yet to be
          produced.

       Further, Travelers will seek discovery from Plaintiffs and others regarding a case

pending in the Circuit Court of Cook County brought by Concrete Structures of the

Midwest against Plaintiffs and others titled Concrete Structures of the Midwest, Inc. v.

Wight Construction, Inc. et al., Case No. 09 CH 22672 (Circuit Court of Cook County,

County Department, Chancery Division, Mechanics Lien Section). Concrete Structures

filed this lawsuit in July 2009. Concrete Structures claims it is entitled to recover more

than $2.4 million for its work on the One Place project, including impact costs for delays

on the project. The One Place parties deny they owe Concrete Structures any more

money and claim that Concrete Structures’ work was substandard and defective. The

One Place parties have also filed a counterclaim contending, in part, that significant and

costly delays to the overall completion of the project were caused by the poor quality of

the work performed by Concrete Structures and that other delays on the project were

caused by adverse weather.

       Travelers also intends to issue subpoenas for documents to various non-parties,

including, but not limited to, the following:

       a. General contractors: Levine Construction, Inc. and Wight Construction, Inc.

       b. Plaintiffs’ public adjusters, Globe Midwest/Adjusters International

       c. Concrete Structures of the Midwest



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      d. Hayward Baker

      e. Crouch-Seranko Masonry

      f. FitzGerald Associates Architects

      g. Republic Bank of Chicago

      h. Possibly other subcontractors and consultants

      Travelers’ goal is to obtain and review the remaining documents from the

Plaintiffs and the documents from the non-parties prior to taking any fact depositions.

Travelers anticipates that the production of these documents may take some time,

particularly if there are significant objections about the categories of documents being

requested and/or issues relating to documents on any privilege logs.

      2.       Fact Depositions

      Travelers anticipates taking many fact depositions. At this time, it is difficult to list

with certainty all of the fact witnesses Travelers expects to depose. Once all of the

documents have been produced by Plaintiffs and non-parties, other names may be

added to the list. Further, after certain fact depositions are taken, other names may be

added to the list and/or Travelers may decide it does not need to depose certain people

listed below. Given these considerations, Travelers anticipates taking the following fact

depositions:

               a. Plaintiffs
                  Charlie Shenk, Project Manager
                  Harlan Karp
                  Wayne Chertow
                  Rule 30(b)(6) witnesses

               b. Globe Midwest/Adjusters International
                  Robert Levin
                  Craig Becker




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            c. Wight Construction
                Jim Nagle, Project Director
                Peter Page, Site Superintendent

            d. Levine Construction
                Noel Dalzell, Project Director
                Bud Case, Superintendent

            e. Concrete Structures of the Midwest
                Neo Lorenzo, Project Manager
                Kevin Fanicure, Superintendent
                Frank Aiello, President

            f. Representatives of the following:
                Hayward Baker
                Crouch-Seranko
                FitzGerald Associates Architects
                Republic Bank of Chicago
                Other subcontractors and consultants


Dated: July 8, 2011
                                        Respectfully submitted,

                                        Butler Pappas Weihmuller Katz Craig, LLP

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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2011, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties by operation
of the Court's electronic filing system. Parties may access this filing through the
Court's system. I also certify that the foregoing is being served this day on all
counsel of record identified on the below Service List via U.S. Mail.

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